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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                                   Case No. 17- 23956 (RDD)

JOSEPH T VISCONTI & KATARZYNA M VISCONTI                                Chapter 13

         Debtor(s).
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              NOTICE OF VOLUNTARY DISMISSAL OF CHAPTER 13 CASE

        PLEASE TAKE NOTICE that the Debtors hereby, pursuant to 11 USC § 1307(b), elect

to voluntarily dismiss the above-noted chapter 13 case, and request the Court issue an Order to

such effect, a proposed Order being attached hereto; in support, the Debtors submit herewith an

Affidavit confirming their election.


Dated: April 16, 2018
       White Plains, New York

                                            LAW OFFICE OF TIMOTHY G. HOLDEN
                                            Counsel for the Debtors


                                            /s/ Timothy G. Holden
                                   By:      Timothy G. Holden, Esq. (TH1864)
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To:


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